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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

Clinton Brown CASE NUMBER

NO. CV 22-9203-MEMF (KS)

 

 

 

 

y PLAINTIFF(S)
Clark R. Taylor ORDER RE APPLICATION FOR PERMISSION
FOR ELECTRONIC FILING
DEFENDANT(S)
IT IS ORDERED that the Application for Permission for Electronic Filing by Plaintiff, Clinton Brown,
is hereby:

 

GRANTED

Pursuant to Local Rule 5-4.1.1, the applicant must register to use the Court's CM/ECF System within
five (5) days of being served with this order. Registration information is available at the Pro Se Litigant
E-Filing web page located on the Court's website. Upon registering, the applicant will receive a CM/ECF
login and password that will allow him/her to file non-sealed documents electronically in this case only. Any

documents being submitted under seal must be manually filed with the Clerk.

Dated: March 23, 2023 .
Chief Magistrate Judge

 

 

[.] DENIED

Comments:

Dated:

 

United States District/Magistrate Judge

 

CV-05 Order (12/15) ORDER RE APPLICATION FOR PERMISSION FOR ELECTRONIC CASE FILING
